This is an appeal by defendant from a judgment pronounced on a conviction of murder in the first degree, and from an order denying his motion for a new trial.
The record is in all material respects the same as that inPeople v. Rollins, ante, p. 793, [179 P. 209]. The defendant and said Rollins were jointly engaged in the robbery of one Allen, and in the perpetration of that robbery killed Allen. The points made for reversal are the same as those made in that case. For the reasons stated in the opinion therein those points must be held to be without merit. Examination of the record discloses no ground for reversal.
The judgment and order denying a new trial are affirmed.
Melvin, J., Shaw, J., Sloss, J., Wilbur, J., Lawlor, J., Lennon, J., and Angellotti, C. J., concurred.
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